       Case 8:25-cv-00430-DLB          Document 14   Filed 02/12/25   Page 1 of 6




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                  SOUTHERN DIVISION

American Federation of Teachers, et al.,       Case No. 8:25-cv-00430-DKC

              Plaintiffs,

       vs.                                     Date:
                                               Time:
SCOTT BESSENT, in his official capacity as     Place:
Secretary of the Treasury, et al.,             Judge: Hon. Deborah Boardman

              Defendants.




         PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER




                       MOTION FOR A TEMPORARY RESTRAINING ORDER
        Case 8:25-cv-00430-DLB           Document 14        Filed 02/12/25      Page 2 of 6



       Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs American Federation of

Teachers, International Association of Machinists and Aerospace Workers, National Active and

Retired Federal Employees Association, National Federation of Federal Employees, International

Federation of Professional & Technical Engineers, Donald Martinez, Jason Cain, Clifford

Grambo, Thomas Fant, Christopher Purdy, and Kristofer Goldsmith (collectively, “Plaintiffs”)

hereby move for a temporary restraining order, to remain in effect until such time as the Court

can further consider the merits of Plaintiffs’ claims. Plaintiffs respectfully request that the Court

enjoin Defendants Scott Bessent, the United States Department of the Treasury, Charles Ezell,

the United States Office of Personnel Management, Denise L. Carter, and the United States

Department of Education from providing access to their respective systems of records and the

records contained within (including by disclosing the substance of such records) to persons

affiliated with the Department of Government Efficiency (“DOGE”), and further request that the

Court order Defendants to retrieve and destroy any such information that has already been

obtained by DOGE representatives and is not housed within a system of records itself, including

any copies that were made of such information and any documents created by DOGE

representatives from such information.

       As set forth in further detail in the accompanying memorandum, Defendants have

unlawfully provided access to their respective systems of records and to Plaintiffs’ personally

identifiable information contained within to DOGE representatives, in violation of the Privacy

Act of 1974. Defendants’ actions should be enjoined under the Administrative Procedure Act

because they are unlawful, arbitrary and capricious, and in excess of their statutory authority.

Plaintiffs will suffer imminent and irreparable injury absent immediate injunctive relief.




                                                 -1-
                        MOTION FOR A TEMPORARY RESTRAINING ORDER
      Case 8:25-cv-00430-DLB     Document 14      Filed 02/12/25         Page 3 of 6



DATED: February 12, 2025



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                                        -2-
                   MOTION FOR A TEMPORARY RESTRAINING ORDER
Case 8:25-cv-00430-DLB   Document 14      Filed 02/12/25   Page 4 of 6



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                               -3-
            MOTION FOR A TEMPORARY RESTRAINING ORDER
        Case 8:25-cv-00430-DLB          Document 14        Filed 02/12/25      Page 5 of 6



                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 12th day of February, 2024, copies of the Motion for

Temporary Restraining Order, Memorandum in Support of Plaintiffs’ Motion for Temporary

Restraining Order, and Proposed Order were filed via CM/ECF, emailed to Department of

Justice attorneys involved in other litigation, and sent via overnight delivery to the following:



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                                                 -4-
                        MOTION FOR A TEMPORARY RESTRAINING ORDER
       Case 8:25-cv-00430-DLB    Document 14        Filed 02/12/25     Page 6 of 6




U.S. Department of Education
400 Maryland Avenue, SW
Washington, D.C. 20202




Dated: February 12, 2025


                                             /s/ Xiaonan April Hu
                                             (signed by filer with permission)

                                             Xiaonan April Hu




                                       -5-
                     MOTION FOR A TEMPORARY RESTRAINING ORDER
